                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Jacquelyn Marie Kent,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:21-cv-00542-RJC-DSC
                                      )
                 vs.                  )
                                      )
         Gary L. Henderson,           )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 10, 2021 Order.

                                               November 10, 2021




      Case 3:21-cv-00542-RJC-DSC Document 4 Filed 11/10/21 Page 1 of 1
